                                                  Entered on Docket
                                                  September 14, 2022
                                                  EDWARD J. EMMONS, CLERK
                                                  U.S. BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA


 1 UZZI O. RAANAN (State Bar No. 162747)
   uraanan@DanningGill.com
                                       The following constitutes the order of the Court.
 2 DANIELLE R. GABAI (State Bar No. 339242)
   DGabai@DanningGill.com              Signed: September 14, 2022
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735
                                                  ______________________________________________
 6 Attorneys for Gang “Patrick” Chen,             Stephen L. Johnson
                                                  U.S. Bankruptcy Judge
   Secured Creditor
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                          SAN JOSE DIVISION
11

12 In re                                                 Case No. 22-50339-SLJ

13 MICHAEL HAROUTUN MIROYAN,                             RS No. UOR-1

14                     Debtor.                           Chapter 13

15                                                       ORDER GRANTING MOTION FOR
                                                         RELIEF FROM THE AUTOMATIC STAY
16                                                       FILED BY CREDITOR GANG
                                                         “PATRICK” CHEN
17                                                       [Doc. No. 39]
18                                                       Date:   September 6, 2022
                                                         Time:   10:30 a.m.
19                                                       Crtrm.: VIA VIDEO CONFERENCE OR
                                                                 TELEPHONE ONLY
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21            On the above date and time, a hearing was held in the above-identified court regarding the

22 Motion of Creditor Gang “Patrick” Chen (the “Creditor” or “Mr. Chen”) for Relief from the

23 Automatic Stay (the “Motion for Relief,” doc. no. 39), the Honorable Stephan L. Johnson, United

24 States Bankruptcy Judge, presiding. Uzzi O. Raanan of Danning, Gill, Israel & Krasnoff, LLP

25 appeared on behalf of Mr. Chen, and Michael H. Miroyan (the “Debtor”) appeared pro se.

26            The Court having considered the Motion for Relief and all papers filed in support and

27 opposition thereof, having determined that notice given by Mr. Chen of the hearing and the relief

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 1 sought in the Motion for Relief was appropriate and adequate, for the legal reasons and based on

 2 factual findings stated on the record, and for good cause appearing, it is

 3            ORDERED THAT:
 4            1.       The Motion for Relief is granted in full under 11 U.S.C. § 362(d)(4).

 5            2.       Mr. Chen is granted full and complete relief from the automatic stay under 11

 6 U.S.C. § 362(d)(4) of the Bankruptcy Code, with in rem relief such that he is authorized to

 7 continue the judicial foreclosure of the undeveloped real property located in Hawaii, identified in

 8 the Debtor’s bankruptcy schedule A/B as: “Empty Lot in Hawaii, Lot 3-6-8-002-021,” (“Parcel

 9 21”) with the legal description attached to this Order as Exhibit “A”.

10            3.       If recorded in compliance with applicable State laws governing notices of interests

11 or liens in real property, this Order shall be binding in any other case under Title 11 purporting to

12 affect Parcel 21 and filed not later than 2 years after the date of the entry of this Order, except that a

13 debtor in a subsequent case under Title 11 may move for relief from this Order based upon changed

14 circumstances or for good cause shown, after notice and a hearing.

15            4.       The 14-day stay of enforcement provided in Rule 4001(a)(3) of the Federal Rules of

16 Bankruptcy Procedure is not waived.

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                                            COURT SERVICE LIST
 2
   Debtor, in pro per
 3 Michael Haroutun Miroyan
   P. O. Box 3181
 4 Saratoga, CA 95070-1181

 5 Request for Special Notice
   Ally Financial, c/o AIS Portfolio Services, LP
 6 4515 N Santa Fe Ave.
   Dept. APS
 7 Oklahoma City, OK 73118

 8 Creditor
   County of Hawaii Real Property Tax Division
 9 25 Aupuni Street
   Hilo, HI 96720
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   ECF Notifications
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